             Case 2:11-cr-00296-JAM Document 274 Filed 03/24/16 Page 1 of 3

 1 BENJAMIN B. WAGNER
   United States Attorney
 2 JEAN M. HOBLER
   BRIAN A. FOGERTY
 3 Assistant United States Attorneys
   501 I Street, Suite 10-100
 4 Sacramento, CA 95814
   Telephone: (916) 554-2700
 5 Facsimile: (916) 554-2900

 6
   Attorneys for Plaintiff
 7 United States of America

 8
                                IN THE UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                         CASE NO. 2:11-CR-00296 WBS

12                               Plaintiff,            STIPULATION AND ORDER RESETTING
                                                       SENTENCING DATES
13                         v.

14   MOCTEZUMA TOVAR, ET AL.,

15                               Defendants.

16

17          Defendants Moctezuma Tovar, Sandra Hermosillo, Christian Parada-Renteria, Jun Michael

18 Dirain, and Manuel Herrera (the “resolved defendants”) have previously pleaded guilty in this matter, all

19 with cooperation provisions under Section 5K1.1 of the U.S. Sentencing Guidelines. Christian Parada-

20 Renteria was set for sentencing on June 20, 2016. The other four defendants were set for sentencing on

21 June 6, 2016. Trial for the remaining defendants, Jaime Mayorga and Ruben Rodriguez, was set to

22 begin on April 5, 2016. On March 21, 2016, however, the Court continued the trial date to October 18,

23 2016, with trial estimated at 24 court days.

24          As a result, the government and the resolved defendants, by and through their respective counsel

25 of record, stipulate and agree that sentencing of the resolved defendants should be continued to January

26 30, 2016. The Probation Officer has been consulted and is available on the stipulated date. The

27 sentencing deadlines would then be as follows:

28


      STIPULATION CONTINUING SENTENCING                 1
             Case 2:11-cr-00296-JAM Document 274 Filed 03/24/16 Page 2 of 3

 1 Judgment and Sentencing Date:
                                                                                            January 30, 2017
 2
     Reply or Statement of Non-Opposition:
 3                                                                                          January 23, 2017
 4
   Motion for Correction of the Presentence Report shall be filed with the Court
 5 and served on the Probation Officer and opposing counsel no later than:                  January 16, 2017

 6 The Presentence Report shall be filed with the Court and disclosed to counsel
   no later than:                                                                            January 9, 2017
 7

 8 Counsel’s written objections to the Presentence Report shall be delivered to the
   Probation Officer and opposing counsel no later than:                                     January 2, 2017
 9
   The proposed Presentence Report shall be disclosed to counsel no later than:          December 19, 2016
10

11

12 Dated: March 23, 2016                                   BENJAMIN B. WAGNER
                                                           United States Attorney
13

14                                                  By: s/ Jean M. Hobler
                                                        JEAN M. HOBLER
15                                                      BRIAN A. FOGERTY
                                                        Assistant United States Attorneys
16
     Dated: March 23, 2016                                 s/ Jean M. Hobler for Thomas A. Johnson
17                                                         THOMAS A. JOHNSON
                                                           Counsel for Defendant
18                                                         MOCTEZUMA TOVAR
                                                           (signature authorized March 23, 2016)
19
     Dated: March 23, 2016                                 s/ Jean M. Hobler for Timothy Zindel
20                                                         TIMOTHY ZINDEL
                                                           Counsel for Defendant
21                                                         JUN MICHAEL DIRAIN
                                                           (signature authorized March 23, 2016)
22
     Dated: March 23, 2016                                 s/ Jean M. Hobler for John Manning
23                                                         JOHN MANNING
                                                           Counsel for Defendant
24                                                         MANUEL HERRERA
                                                           (signature authorized March 23, 2016)
25
     Dated: March 23, 2016                                 s/ Jean M. Hobler for Erin Radekin
26                                                         ERIN RADEKIN
                                                           Counsel for Defendant
27                                                         SANDRA HERMOSILLO
                                                           (signature authorized March 23, 2016)
28


      STIPULATION CONTINUING SENTENCING                2
            Case 2:11-cr-00296-JAM Document 274 Filed 03/24/16 Page 3 of 3

 1 Dated: March 23, 2016                         s/ Jean M. Hobler for Chris Cosca
                                                 CHRIS COSCA
 2                                               Counsel for Defendant
                                                 CHRISTIAN PARADA-RENTERIA
 3                                               (signature authorized March 23, 2016)
 4

 5                                        ORDER
 6        It is so ORDERED.
 7 Dated: March 23, 2016

 8

 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28


     STIPULATION CONTINUING SENTENCING       3
